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                  EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. TDC-20-33
                                                *   CRIMINAL NO. TDC-21-205
 BRIAN MARK LEMLEY, JR., and                    *   CRIMINAL NO. TDC-21-206
 PATRIK JORDAN MATHEWS,                         *
                                                *
                Defendants                      *
                                                *
                                            ********

                       AFFIDAVIT IN SUPPORT OF
             GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

       I, Rachid Harrison, submit this affidavit in support of the Government’s Memorandum in

Aid of Sentencing.

                             Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been

a Special Agent with the FBI for over five years, prior to which I spent approximately two years

as a Special Agent of the Drug Enforcement Administration (“DEA”). During my tenure with the

FBI and DEA, I have investigated and participated in the investigations of numerous drug

trafficking and international and domestic terrorism violations.

       2.      I am the co-case agent in the investigation of Brian Mark Lemley, Jr., and Patrik

Jordan Mathews.

       3.      During the course of the investigation into Lemley and Mathews, I served or caused

others to serve a substantial amount of legal process, including subpoenas and § 2703(d) orders. I

also swore out a number of search warrant affidavits, including ones related to telephone location

information, email content, other electronic data, and physical locations. I also was the affiant on

the Title III and CCTV affidavits in this case. And during the investigation, I coordinated with an


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FBI undercover employee (“UCE”) who interacted with Lemley and Mathews, both in person and

through electronic means.

        4.     Other co-case agents swore out other search warrant affidavits during the course of

this investigation. I am familiar with those affidavits and the content that the Government obtained

pursuant to those warrants.

        5.     The facts in this affidavit come from my personal observations, my training and

experience, my review of documents, and information obtained from other agents and witnesses.

                      Assertions in the Government’s Sentencing Memo

        6.     Within The Base’s encrypted chat rooms, members discussed, among other things,

recruitment, creating a white ethno-state, committing acts of violence against minority

communities (including African-Americans and Jewish-Americans), the organization’s military-

style training camps, and ways to make improvised explosive devices.

        7.     From 2018 through at least the date of the defendants’ arrests in January 2020, The

Base was building a coalition of white supremacist members within the United States and abroad

through, among other things, online chat rooms, in-person meetings, propaganda, and military

training.

        8.     The Base’s membership included members of other white supremacist

organizations, including Atomwaffen Division, a violent neo-Nazi terror group linked to several

hate crimes.

        9.     The Government obtained content for Twitter accounts maintained by the leader of

The Base, who goes by the monikers Roman Wolf and Norman Spear. The image and tweets/posts

in the Government’s Memorandum in Aid of Sentencing, principally on pages 4 through 6,




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ascribed to The Base’s Twitter accounts were obtained by the Government pursuant to search

warrants or otherwise.

       10.     Lemley participated in encrypted online chats with other members of The Base. In

the chats, Base members frequently discussed evading law enforcement and what would happen

if law enforcement tried to disrupt their activities, including: how they would react if law

enforcement showed up with warrants; shooting it out with law enforcement; suicide by cop; and

the importance of not letting law enforcement take them alive if they come with a warrant.

       11.     On or about August 19, 2019, the Royal Canadian Mounted Police (“RCMP”)

executed a search warrant at Mathews’s residence.

       12.     I and other FBI personnel have reviewed CCTV video footage and Title III audio

from the Delaware residence on January 5, 2020. On that date, after Lemley and Mathews returned

to the Delaware residence from the Maryland gun range, they began packing rations and material,

presumably to be used during and after the Virginia conduct. Lemley and Mathews loaded a hard

pelican case and at least one other container with food and supplies, and Mathews stated that he

wanted to make sure he brought his gas mask. Mathews stated that they can survive in the area

until “we get some hogs.” Lemley stated that they may have three or five months’ worth of food,

and it “might be enough til the war is over.” Later that night, Lemley stated that he bought a four-

foot metal antenna for his truck, presumably in order to achieve better radio reception and

communications ability during and after any Virginia conflagration.

                         Exhibits to the Government’s Sentencing Memo

       13.     Exhibit 2, Exhibit 3, Exhibit 4, Exhibit 5, Exhibit 6, Exhibit 8, Exhibit 9,

Exhibit 10, Exhibit 12, Exhibit 14, Exhibit 15, Exhibit 16, Exhibit 18, and Exhibit 24 are emails




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the Government obtained pursuant to federal search warrants for email content for some of

Lemley’s email accounts.

       14.     Exhibit 7, Exhibit 11, Exhibit 13, and Exhibit 17 are Twitter content (direct

messages, tweets, and other content) the Government obtained pursuant to a federal search warrant

for one of Lemley’s Twitter accounts.

       15.     Exhibit 19, Exhibit 20, and Exhibit 32 are images taken by the UCE of chats

within an encrypted messaging platform used by members of The Base. Lemley is identified by

the monikers Cantgoback or Wontgoback. Mathews is identified by various iterations of the

moniker Snake Punished.

       16.     Exhibit 21 is a document obtained by the Government from the Royal Canadian

Mounted Police (“RCMP”). The RCMP informed the FBI that the document was obtained from

a trash can during a search of Mathews’s residence in Canada.

       17.     Exhibit 22 is a series of chats within an encrypted messaging platform used by

members of The Base. The FBI obtained these chats from an attorney for an individual who

infiltrated The Base. Lemley is identified by the monikers Cantgoback or Wontgoback. Mathews

is identified by various iterations of the moniker Snake Punished.

       18.     Exhibit 23 is a series of photographs taken by the FBI during a search of Lemley

and Mathews’s residence in Delaware in December 2019.

       19.     Exhibit 25 and Exhibit 26 are videos obtained from a search of electronic devices

during a search of Lemley and Mathews’s residence in Delaware in December 2019. The voice in

Exhibit 25 is Mathews’s voice. The person wearing a gas mask in Exhibit 26 is Mathews. FBI

personnel drafted a transcript of Exhibit 25. I reviewed the transcript, which is Exhibit 25a, and

it is accurate to the best of my knowledge and belief.




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